          Case 3:08-cv-01918-JAF Document 33 Filed 08/27/08 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO


MINUTES OF PROCEEDINGS

HONORABLE CHIEF JUDGE JOSE A. FUSTE

COURTROOM DEPUTY: Franchesca Torres
                  Gladys Romañach                                       DATE: August 27, 2008

COURT REPORTER:               Amy Walker                                CV. NO. 08-1918 (JAF)

                                                                 Attorneys:
SYLVIA DIFFENDERFER, ET AL.,                                     Eliezer Aldarondo-Ortiz, Esq.
                                                                 Claudio Aliff, Esq.
                                                                 Michael McCall, Esq.
                                                                 Sheila Torres, Esq.
                                                                 Eliezer Aldarondo-Lopez, Esq.

v.

RAMON E. GOMEZ-COLON, ET AL.,                                    Jorge Martinez-Luciano, Esq.
                                                                 Emil Rodriguez, Esq.
                                                                 Carmen E. Torres, Esq.
                                                                 Noel Gonzalez, Esq.
                                                                 Juan J. Nolla, Esq.

        Case called for SHOW CAUSE HEARING.

       Testimony on behalf of plaintiffs by Atty. Jose E. Melendez, Sylvia A. Diffenderfer,
William Robert McCarroll heard. Plaintiffs rest.

      The testimonies of defendants’ witnesses, Nestor Colon (assisted by interpreter
Lauren Garcia), Jose Torres and Angel Figueroa are heard. Defendants rest.

        After hearing the testimonies and reviewing the evidence presented, the Court
orders that the ballots be printed in both the Spanish and English languages and that the
printer receive all the art and resizing instructions before September 6, 2008. Additionally,
the printer will be ready to start early in the morning on September 6, 2008 the printing
process. Defendants will bear the additional costs of printing.

        S/ Franchesca Torres                                     s/Gladys Romañach
        Franchesca Torres                                        Gladys Romañach
        Courtroom Deputy Clerk                                   Courtroom Deputy Clerk

Plaintiffs’ Exhs. 1-3,4A,4B,4C,5A,5B,5C,6A,6B,6C,7A,7B,7C, adm itted.
Defendants’ Exhs. A and B, adm itted.
